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     JHONNY PINTO
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 8
                                UNITED STATES DISTRICT COURT
 9
                            CENTRAL DISTRICT OF CALIFORNIA
10
11
12   JHONNY PINTO, an individual,                  Case No. 2:18-cv-10773-CJC-AS
13                               Plaintiff,        PLAINTIFF’S NOTICE OF MOTION
                                                   AND MOTION FOR ORDER
14         v.                                      REMANDING ACTION TO STATE
                                                   COURT; MEMORANDUM OF POINTS
15   FINISHMASTER INC., an Indiana                 AND AUTHORITIES; DECLARATION
     corporation; and DOES 1 through 20,           OF CARLOS A. PEREZ;
16   inclusive,
                                                   DATE: March 4, 2019
17                                 Defendants.     TIME: 1:30 p.m.
                                                   CTRM.: 7C
18
19                                                 [Complaint Filed: November 13, 2018]
20
21
22         TO DEFENDANT FINISHMASTER HANNIFIN CORPORATION, AND
23   THEIR ATTORNEYS OF RECORD:
24         PLEASE TAKE NOTICE that on March 4, 2019 at 1:30 p.m. or as soon
25   thereafter as the matter may be heard in Courtroom 7C of the United States District Court
26   for the Central District of California located at First Street Courthouse, 350 West First
27   Street, Los Angeles, CA 90012, Plaintiff JHONNY PINTO will move this Court for an
28   order remanding this action to the Los Angeles County Superior Court of the State of


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 1   California.
 2         This motion is made pursuant to 28 U.S.C. § 1447(c), on the grounds that
 3   Defendant has failed to meet their burden of establishing original jurisdiction pursuant to
 4   28 U.S.C. § 1332(a) because Defendant has failed to demonstrate that the matter in
 5   controversy exceeds the sum or value of $75,000, exclusive of interests and costs. 28
 6   U.S.C. § 1332(a).
 7         This motion is based upon this notice, Motion to Remand, Declaration of Carlos A.
 8   Perez, the court's file, and upon such further evidence and argument that may be
 9   presented at the hearing on this motion.
10   This motion is made following the conference of counsel pursuant to L.R. 7-3. [Perez
11   Decl., ¶2.]
12                                              Respectfully submitted,
13
14   DATED: January 30, 2019                    THE DOMINGUEZ FIRM, LLP

15
16                                              By:      /S/ CARLOS A. PEREZ
                                                         Jace H. Kim, Esq
17                                                       Carlos A. Perez, Esq.
                                                         Attorneys for Plaintiff
18                                                       JHONNY PINTO
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 1   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.        INTRODUCTION
 3             Plaintiff JHONNY PINTO (“MR. PINTO”) brought this employment disability
 4   discrimination 1 and wrongful termination action against his former employer,
 5   FINISHMASTER INC., (hereinafter referred to as “FINISHMASTER” or “Defendant”)
 6   in Los Angeles Superior Court.
 7             Defendant removed this action claiming diversity jurisdiction. However,
 8   Defendant failed to set forth sufficient factual or legal evidence demonstrating that the
 9   amount in controversy requirement had been met. Therefore, Defendant has failed to
10   satisfy its burden to demonstrate that the amount in controversy exceeds $75,000 and this
11   case should be remanded to state court.
12   II.       STANDARD OF REVIEW
13             It is well-established that a federal court cannot reach the merits of any dispute
14   until it confirms its own subject matter jurisdiction. Steel Co. v. Citizens for a Better
15   Environment, 523 U.S. 83, 94 (1983). In the removal context, a district court must
16   remand a case to state court if, at any time before final judgment, the court determines
17   that it lacks subject matter jurisdiction. 28 U.S.C. § 1447(c). District courts must
18   construe the removal statutes strictly against removal, and resolve any uncertainty in
19   favor of remanding the case to state court. Gaus v. Miles, Inc., 980 F.2d 564, 566 (9th
20   Cir.1992).
21             The Ninth Circuit has consistently held that "the strong presumption against
22   removal jurisdiction means that the defendant always has the burden of establishing that
23   removal is proper." Id. at 566-567 (internal citation omitted) ["Federal jurisdiction must
24   be rejected if there is any doubt as to the right of removal in the first instance"]. See, also
25   Emrich v. Touclie Ross & Co., 846 F.2d 1190, 1195 (9th Cir.1988) ["The burden of
26   establishing federal jurisdiction is upon the party seeking removal"]; Abrego Abrego v.
27
28        Based on the FEHA (Fair Employment and Housing Act - Cal. Govt. Code §
           1

     12940 et seq.).

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 1   The Dow Chemical Co. 443 F.3d 676, 684 (9th Cir.2006) (per curiam) [noting the
 2   "longstanding, near-canonical rule that the burden on removal rests with the removing
 3   defendant"]. As such, any doubts are resolved in favor of remand. Gaus at 980 F.2d at
 4   566-567 ["Federal jurisdiction must be rejected if there is any doubt as to the right of
 5   removal in the first instance"].
 6         Diversity jurisdiction grants district courts "original jurisdiction of all civil actions
 7   where the matter in controversy exceeds the sum or value of $75,000, exclusive of
 8   interest and costs, and is between ... citizens of different States[.]" 28 U.S.C. § 1332(a)(l).
 9   Generally, when removal is on the basis of diversity jurisdiction, the sum demanded in
10   the initial complaint shall be deemed the amount in controversy. 28 U.S.C. § 1446(c)(2).
11         However, in cases where "the amount in controversy is in dispute and where it is
12   unclear from the plaintiff's complaint whether the plaintiff is seeking more than
13   [$75,000], the defendant bears the burden of actually proving the facts to support
14   jurisdiction, including the jurisdictional amount," by a preponderance of the evidence,
15   through admissible, summary-judgment type of evidence. Sanchez v. Monumental Life
16   Ins. Co., 95 F.3d 856, 403 (9th Cir.1996) (internal quotation marks omitted, emphasis
17   added); Kenneth Rothschild Trust v. Morgan Stanley Dean Witter, 199 F.Supp.2d 993,
18   1001 (C.D.Cal.2002) ["If the amount in controversy is not clear on the face of the
19   complaint...defendant must...submit summary-judgment type evidence to establish that
20   the actual amount in controversy exceeds" the applicable threshold (internal quotations
21   omitted)]. The district court may consider "facts presented in the removal petition as well
22   as any 'summary-judgment-type evidence relevant to the amount in controversy at the
23   time of removal.'" Matheson v. Progressive Specialty Ins. Co., 319 F .3d 1089, 1090 (9th
24   Cir.2003) [quoting Singer v. State Farm Mut. Auto. Ins. Co., 116 F.3d 373,377 (9th
25   Cir.1997)]. "Conclusory allegations as to the amount in controversy are insufficient."
26   Matheson, 319 F.3d at 1090-1091. “[A] conclusory allegation ‘neither overcomes the
27   ‘strong presumption’ against removal jurisdiction, nor satisfies [the defendant]'s burden
28   of setting forth, in the removal petition itself, the underlying facts supporting its assertion


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 1   that the amount in controversy exceeds” the applicable dollar value).” Valdez v. Allstate
 2   Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004) (citing Gaus v. Miles, Inc., 980 F.2d 564,
 3   567 (9th Cir.1992).
 4   III.   THIS CASE SHOULD BE REMANDED TO STATE COURT.
 5          In this case, MR. PINTO’s Complaint does not allege that the amount in
 6   controversy exceeds $75,000. The Complaint generally seeks “a money judgment
 7   representing compensatory damages including lost wages, earnings, commissions,
 8   retirement benefits, and other employee benefits…special damages…general damages for
 9   mental pain and anguish and emotional distress and loss of earning capacity”, interest,
10   punitive damages in an amount “sufficient to punish” the defendants, costs of suit,
11   attorneys’ fees, and expert fees. (First Amended Complaint “FAC” Prayer. ¶¶ 1-5.) The
12   individual amounts for such damages and the total amount for all of the damages to
13   which MR. PINTO is seeking, however, are not clear. Therefore, to meet their burden,
14   Defendants must “prove by a preponderance of the evidence that the amount in
15   controversy requirement has been met.’” Abrego Abrego v. The Dow Chem. Co., at 683.
16
            A.     Defendant Has Failed To Provide Sufficient Evidence To Meet Its
17
                   Burden.
18
            It is not facially apparent from the Complaint that the amount in controversy
19
     exceeds $75,000. Additionally, taking into consideration Defendants’ removal Petition
20
     only, the amount in controversy as of December 31, 2018 is ambiguous because it does
21
     not set forth the requisite factual evidence to demonstrate that it is more likely than not
22
     that the amount in controversy requirement has been met.
23
                  1.     Defendant’s estimate of Economic Damages is Grounded On
24
                         Speculation.
25
            As courts have recognized when measuring lost wages, "the guiding principle is to
26
     measure amount in controversy at the time of removal" See Soto v. Kroger Co., No. CV
27
     12-00780 DOC, 2013 WL 3071267, at 3 (C.D. Cal. June 17, 2013). FINISHMASTER
28
     speculates that MR. PINTO lost-back-pay at the time the Notice of Removal (“Not.”) was

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 1   filed exceeded $31,080.00 (Not. ¶ 17.) In support of its unsupported contention,
 2   FINISHMASTER assumes that MR. PINTO has not mitigated damages. This assumption
 3   is arbitrary and purely speculative. FINISHMASTER does not know if MR. PINTO has
 4   been successfully mitigating his damages since he was terminated on or about July 29,
 5   2017, nor can FINISHMASTER see into the future to know whether he will be able to
 6   mitigate his damages and to what extent. Assuming arguendo that Plaintiff’s lost-back-
 7   pay was $31,080.00 at the time of removal, as Defendant contends, FINISHMASTER has
 8   failed to prove by a preponderance of the evidence that Plaintiff’s wage loss exceeds or
 9   even approaches the jurisdictional threshold.
10                 2. Other Damages
11         As noted by FINISHMASTER, Plaintiff did not make a specific claim for amount
12   of damages for emotional distress. (Not. ¶ 18.) Assuming emotional distress damages are
13   potentially recoverable, FINISHMASTER’s assertion that for purposes of removal
14   Plaintiff’s emotional distress claim is worth $50,000.00 because employment lawsuits
15   that it cited were found to have met the jurisdictional minimum, is a grand
16   overgeneralization. This allegation by FINISHMASTER is conclusory and fails to meet
17   FINISHMASTER’s burden. First, even assuming that lost wages at the time of removal
18   would be approximately $31,080.00, FINISHMASTER has set forth no analogous facts
19   from the cases that it cited that should lead the Court to find that the amount in
20   controversy at removal exceeded $75,000. This is because FINISHMASTER did not cite
21   to a single disability discrimination case that would be analogous to this case. Zhang was
22   a race discrimination case in which the plaintiff was openly mistreated because of his
23   race and was even terminated him in a public location via a loud announcement by
24   management. See Zhang v. Amer Gem Seafoods, Inc., 339 F.3d 1020, 1025 – 1026 (9th
25   Cir. 2003).
26         Moreover, Defendant’s reliance on Espinoza is also misplaced given that the
27   operative complaint in Espinoza included a cause of action for Harassment which is not
28   present in the instant case. See Espinoza v. County of Orange, No. 30200800110643,


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 1   2009 WL 6323832, at *1. In Espinoza the plaintiff was born with a deformed right hand
 2   and was subjected to pervasive harassment by co-workers. See Espinoza, 2009 WL 994
 3   6323832, at *1.
 4         Further, like the defendant in Conrad Associate, FINISHMASTER made no effort
 5   to compare the facts of those cases with the alleged facts of this case and the actual facts
 6   of the cases cited bear little or no resemblance to this case. See Conrad Associates v.
 7   Hartford Acc. & Indent Co., 994 F. Supp. 1196, 1201. Hence, the Court should ignore the
 8   case cited by FINISHMASTER as they are not analogous to this case.
 9                3. Punitive Damages
10         FINISHMASTER also contends that MR. PINTO seeks punitive damages (Not. ¶
11   19.) In Simmons v. PCR Tech., 209 F. Supp. 2d 1029, 1033 (N.D. Cal. 2002), the court
12   acknowledged that punitive damages may be included when recoverable by law when
13   determining the amount in controversy. Simmons, 209 F. Supp.2d at 1033-34. While
14   punitive damages may be included in the amount in controversy calculation, Plaintiff’s
15   request for such damages does not aid Defendant's argument. See Gibson v. Chrysler
16   Corp., 261 F.3d 927, 945 (9th Cir. 2001) ("[T]he mere possibility of a punitive damages
17   award is insufficient to prove that the amount in controversy requirement has been met.").
18         Defendant "must present evidence that punitive damages will more likely than not
19   exceed the amount needed to increase the amount in controversy to $75,000." Burk v.
20   Med. Sav. Inc. Co., 348 F.Supp.2d 1063, 1069 (D. Ariz. 2004) (holding that a removing
21   defendant may establish "probable punitive damages, for example, by introducing
22   evidence of jury verdicts in analogous cases.") See also, Conrad Associates, 994 F. Supp.
23   at 1201 (finding that defendant failed to meet its burden where defendant failed to
24   compare the facts of the cases it cited with the alleged facts of the case at issue and where
25   “the cases cited by defendant bear little or no resemblance” to the case at issue).
26         However, FINISHMASTER has failed to do so. “It is well established that when
27   determining the amount in controversy, a court cannot consider awards issued in other
28   actions unless a defendant identifies factual similarities which raise an inference that a


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 1   similar award might be warranted.” See, e.g., Conrad Associates, 994 F. Supp. at 1201;
 2   Quinby v. State Farm Fire and Cas. Co., 2015 WL 5566291, *2 (D. Nev. 2015) (finding
 3   that where the defendant failed to make any factual comparison whatsoever, and instead
 4   merely relied on the fact that the plaintiffs in the cited cases raised the same causes of
 5   action set forth in the instant case, the defendant failed to satisfy its burden to
 6   demonstrate that the amount in controversy exceeded $75,000).
 7         Here, FINISHMASTER merely cites to McGee v. Tucoemas Fed. Credit Union, 63
 8   Cal. Rptr. 3d 808 (Cal. Ct. App. 2017) which awarded $1.2 million in punitive damages
 9   but failed to provide any detail as to the facts surrounding that case and provided no
10   factual comparison whatsoever, other than identifying it as a disability discrimination
11   case. However, McGee is clearly distinguishable as the defendant in that case engaged in
12   a pattern of behavior aimed at humiliating plaintiff and forcing her to quit following
13   plaintiff’s cancer surgery. The plaintiff in McGee was threatened with termination if she
14   did not return to work after four months leave, and if she did return after the designated
15   date, she would be demoted with an 11 percent pay decrease. Id. at 810 – 811. The
16   Instant case does not allege that Defendants made threats to fire PINTO nor was PINTO
17   forced to quit – he alleges he was terminated from his employment. (FAC. ¶¶15-25.) In
18   addition, the punitive damages in McGee bear a reasonable relation to the actual damages
19   of that case where the plaintiff in McGee was the Vice President of Lending for the
20   defendant. Id. at 816. Here, no such allegations exist, nor has Plaintiff made any
21   assertion about the amount of damages he has incurred.
22         Similarly, Romero, is also easily distinguishable as the plaintiff in that case, in
23   addition to claiming that she had been discriminated against due to a physical disability,
24   also brought causes of action against the defendant for gender discrimination,
25   harassment, assault, battery, and intentional infliction of emotional distress which are not
26   present in the Instant Case. Romero vs. Leon Max Inc., 2 Trials Digest 13th 21, 2009 WL
27   5258439 (Cal. Super. Ct. Nov 2, 2009). As such, the circumstances in Romero are not
28   even remotely analogous to the case at hand and therefore should not even be considered


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 1   by this Court.
 2                4. Attorneys’ Fees
 3         FINISHMASTER’s contention that Plaintiff’s counsel will incur attorneys’ fees of
 4   $50,000.00 to prosecute Plaintiff’s claims through trial is similarly baseless. (Not. ¶ 20.)
 5         Only attorney's fees incurred up to the time the case has been removed are counted
 6   toward the amount-in-controversy threshold. Conrad Associates, 994 F. Supp. at 1199.
 7   Although Simmons, 209 F.Supp.2d at 1034-1035, stated that the Ninth Circuit "must have
 8   anticipated that district courts would project fees beyond removal", this statement is dicta
 9   and complete speculation.
10         Further, FINISHMASTER’s fee calculation is based on nothing more than
11   guesswork. FINISHMASTER has not provided any foundation as to how long MR.
12   PINTO’s attorneys have been practicing law or routinely bill for their work. A mere
13   statement by FINISHMASTER that in employment cases, fee awards normally eclipse
14   the $75,000 amount in controversy requirement for diversity jurisdiction is not sufficient.
15   (Not. ¶ 20.) Otherwise, every employment case which involves citizens from different
16   states between plaintiff(s) and defendant(s) would be subject to the jurisdiction of the
17   federal courts. Finally, because FINISHMASTER failed to submit any admissible
18   evidence to establish the amount of attorneys’ fees MR. PINTO has or may have incurred
19   as of the time FINISHMASTER removed this action, it cannot be reasonably concluded
20   that that amount will likely exceed $75,000. Hence, based on FINISHMASTER’S failure
21   to provide any information with regard to MR. PINTO’s attorneys, such as how long they
22   have been practicing and how many hours of attorney work could be expected in a
23   disability discrimination case, the Court should disregard these conclusory and
24   speculative statements.
25   IV.   CONCLUSION
26         FINISHMASTER failed to provide the requisite summary judgment type evidence
27   that the amount in controversy exceeds $75,000. Defendant’s sole reliance on conclusory
28   and speculative statements, in addition to its failure to provide any factual evidence,


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 1   failure to cite to analogous cases to support its conclusory and speculative statements
 2   renders its claim that the amount in controversy exceeds the jurisdictional requirement
 3   meritless. FINISHMASTER therefore clearly fails to establish its burden of proof. As a
 4   result, MR. PINTO respectfully requests that the Court remand this action to state court.
 5
 6         Respectfully submitted,
 7
     DATED: January 30, 2019                  THE DOMINGUEZ FIRM, LLP
 8
 9
                                              By:       /S/ CARLOS A. PEREZ
10                                                      Jace H. Kim, Esq.
11                                                      Carlos A. Perez, Esq.
                                                        Attorneys for Plaintiff
12                                                      JHONNY PINTO
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 1                          DECLARATION OF CARLOS A. PEREZ
 2         I, Carlos A. Perez, declare as follows:
 3         1.      I am an attorney duly admitted to practice before this Court. I am associated
 4   with THE DOMINGUEZ FIRM, LLP counsel for Plaintiff JHONNY PINTO in this
 5   action. I have personal knowledge of the facts set forth in this declaration and if called
 6   upon as a witness could and would testify competently to them. This declaration is filed
 7   in support of Plaintiff’s motion to remand.
 8         2.      On January 23, 2019, I met and conferred with Amanda Sommerfeld over
 9   the telephone regarding this motion. We were unable to resolve our differences regarding
10   the remand of this action to state court.
11         I declare under penalty of perjury under the laws of the State of California that the
12   foregoing is true and correct. Executed this 30th day of January 2019 at Los Angeles,
13   California.
14
15                                           /S/ CARLOS A. PEREZ
16                                               CARLOS A. PEREZ
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